     Case 3:96-cv-04179-VC Document 2563 Filed 04/21/20 Page 1 of 94



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11                           IN THE UNITED STATES DISTRICT COURT
12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

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     EMMA C., et al.,                                   3:96-cv-04179-VC
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                                          Plaintiffs,   STATE DEFENDANTS' RESPONSE TO
17                                                      MONITOR'S REVIEW OF FURTHER
                    v.                                  PHASE 2 SUBMISSION
18
                                                        Judge: The Honorable Vince Chhabria
19   THURMOND, et al.,

20                                      Defendants.

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               ,RESPONSE TO MONITOR'S REVIEW OF FURTHER PHASE 2 SUBMISSION (3 :96-cv-04179-VC)
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 1         Pursuant to the Court's July 5, 2019 Order re State's Compliance at Phase 2 (Dkt. 2520)

 2   (the "7/5/19 Order"), the September 3, 2019 Scheduling Order (Dkt. 2531), and the March 24,

 3   2020 Order Granting Motion for Extension of Time (Dkt. 2561), Defendants California

 4   Department of Education ("CDE"), Tony Thurmond, in his official capacity as the State

 5   Superintendent of Public Instruction, and State Board of Education ("SBE") (collectively, "State

 6   Defendants" or the "State") hereby submit their Response to the March 7, 2020 Monitor's Review

 7   of CD E's Phase 2 (Continued) Submission: Data Analysis (Dkt. 2555) (the "Response to

 8   Monitor's Review of the Further Phase 2 Submission"), attached hereto as Exhibit 1, to further

 9   show that the State's data analysis activities are sufficient to allow the State to effectively fulfill

10   its monitoring and enforcement duties under the Individuals with Disabilities Act (the "IDEA"),

11   to address the Court's concerns as set forth in the 7/5/19 Order, and to address and respond to

12   points raised in the Monitor's Review of the Further Phase 2 Submission. The Response to

13   Monitor's Review of the Further State Phase 2 Submission also addresses some of the anticipated

14   challenges presented by COVID-19 on the State's ability to implement its data analysis activities

15   for the next monitoring year.

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     Dated: April 21, 2020                                   Respectfully Submitted,
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26                                                           and State Board of Education
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                RESPONSE TO MONITOR'S REVIEW OF FURTHER PHASE 2 SUBMISSION (3:96-cv-04179-VC)
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                                          Plaintiffs, , EXHIBIT 1
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                    v.                                 Judge: The Honorable Vince Chhabria
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19   THURMOND, et al.,

20                                      Defendants.

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                                                                           EXHIBIT 1 (3 :96-cv-04179-VC)
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Introduction
In the Further Phase 2 submission dated January 31, 2020 (0kt. 2545) (Further Phase
2 Submission), State Defendants addressed the following concerns in the Court's July
5, 2019 Order re State's Compliance at Phase 2 (0kt. 2520) (the 7/5/19 Order): (1)
California Department of Education (COE) was not sufficiently analyzing data regarding
small local educational agencies (LEAs), preschool, and mediation; (2) CDE's selection
methodology for its most intensive monitoring activity resulted in COE selecting
incorrect and insufficient LEAs; and (3) the targets COE uses to select LEAs for further
monitoring activities were not sufficiently rigorous. 1 As to the third item, as previously
discussed, while COE undertook an extensive process to set new rigorous targets,
based on recent U.S. Department of Education action there is an unavoidable delay in
CDE's ability to publicly release new targets.

The Monitor's March 9, 2020 Review of CDE's Further Phase 2 Submission (0kt. 2555)
(the Monitor's Review), while acknowledging the propriety of some of CDE's
approaches and the seriousness with which COE took to address each of the Court's
concerns in the 7/5/19 Order, and recognizing the inherent challenges in addressing
certain items, nevertheless recommends a finding that COE is noncompliant with the
Individuals with Disabilities in Education Act (IDEA) in all areas. As explained in more

1 As discussed in the Further Phase 2 Submission and at the February 19, 2020 Case
Management Conference (2/19/20 CMC), the Office of Special Education Programs
(OSEP) announced this past fall that it would be delaying implementation of a new six-
year cycle by at least one year, and directed States to create extension targets for the
current six-year cycle and submit them to OSEP by February 1, 2020, the date OSEP
previous set for States to submit targets for the new six-year cycle. (See, e.g., Dkts.
2545 at pp. 2-3, 6 & 20-21; 2546; 2550.) Accordingly, because of OSEP's revised
timeline for the next six-year cycle, the State cannot adopt new State Performance Plan
(SPP) targets for the next six-year cycle until at least the 2021-2022 monitoring year,
and the State anticipates that the State Board of Education (SBE) will not be in a
position to approve the new targets for the next six-year cycle prior to the end of 2020.
(Id.) Additionally, the ongoing effects of COVID-19 may further delay timelines relating
to federal and State approval of targets for the next six-year cycle. Since the 2/19/20
CMC, there have been no further developments between COE and stakeholders with
respect to target-setting activities for the next six-year cycle. Given the changes COE
has made to the State's data analysis activities in response to the Court's 7/5/19 Order
as set forth in the Further Phase 2 Submission, COE will address any additional issues
regarding SPP targets as part of a separate hearing, or in connection with a later phase,
depending on the Court's preference.




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detail below, each of the proposals COE has set forth in response to the Court's
concerns is compliant with federal law. In general, COE's approaches emphasize an
LEA's overall performance, as revealed by a systematic, repeatable, and fair evaluation
of data to identify LEAs in need of monitoring, whereas the Monitor's approaches
emphasize the number of individual students. But COE's proposed approaches comply
with federal law and align with IOEA's emphasis on improving outcomes for students.
For example, in proposing methodology for selecting small LEAs for monitoring, COE
and the Monitor simply place different weight on competing concerns relating to over-
identifying small LEAs based on size alone Versus under-identifying low-performing
LEAs. These differing approaches simply reflect a difference in policy. That COE and
the Monitor disagree on policy does not render COE's approaches noncompliant with
federal law.

COE carefully considered and analyzed the Monitor's alternative approaches. Indeed, in
one instance, where the Monitor proposes placing reliance on federal least restrictive
environment (LRE) indicator 5b over Indicator 5c, which COE's proposed methodology
emphasizes, COE has decided to adjust its approach to adopt the Monitor's
recommendation. In all other areas, notwithstanding the Monitor's assertions to the
contrary, the State's proposals set forth in the Further Phase 2 Submission
appropriately and adequately address the Court's concerns and should be deemed
compliant with federal law.

Standard of Review for State Monitoring Selection Process

COE implements the selection process for monitoring in accordance with the
requirements in 34 CFR § 300.600(d). According to guidance from OSEP, 2 integrated
monitoring as part of a system of general supervision should include:

    •   Stakeholder involvement

    •   Focus on a specific hypothesis

    •   Include families

    •   Investigate both noncompliance and program improvement

    •   Multiple methods and data sources to monitor every program, every year

    •   Activities include examination of performance for compliance and results

    •   Written reporting specify evidence of correction


2See Attachment 11, also available at
https://sites.ed .gov/idea/files/General Supervision Breakout 3-29-07 .pdf.

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   •    Internal and external technical assistance and professional development to
        support improvement and correction

CDE's integrated monitoring system includes each of the eight components required by
OSEP. Neither the IDEA nor OSEP impose a specific monitoring framework on states. ·
Further, OSEP does not require states to automatically select every LEA that has a
single low-performing student for further monitoring activities under an effective system
of general supervision. In fact, OSEP has provided guidance and technical assistance
on developing a system of general supervision that directs states to develop their own
models of general supervision based on what is required and desired. 3 OSEP does not
place prescriptive requirements or limits on what types of monitoring must or can be
conducted. OSEP does not limit "monitoring" to those activities that occur "onsite."
Thus, federal law permits and anticipates States may use a wide range of different
types of monitoring activities under the IDEA. Details on the different types of monitoring
activities CDE employs will be discussed in Phase 3.

Given the size of California and the sheer number of LEAs and students, the State-in
accordance with its broad authority under federal law-implements the IDEA in a
manner that necessarily differentiates LEA monitoring and enforcement activities based
on an LEA's demonstrated need and the scope of an LEA's apparent deficiencies. For
example, in CDE's proposed selection process for monitoring small LEAs, CDE
monitors all students under the first step of CDE's selection methodology. As discussed
in more detail below, once CDE identifies an LEA or an LEA group, CDE conducts a
secondary evaluation of the available data, and then analyzes which LEAs appear to
have practices or procedures in place that contribute to the poor performance of the
LEA group. Given the vast sources of data, variables, circumstances, and calculation
variations to consider, CDE has created an effective method of selecting those LEAs
most in need of monitoring. This selection methodology meets the general supervision
requirements of federal law and promotes the goal of improving outcomes for students
with disabilities (SWD).

The Monitor's concerns focus largely on the implementation aspect of the selection
methodology to address small LEAs. Accordingly, CDE will address the criticisms
relating to its proposed selection methodology with respect to small LEAs as a group
rather than in the order set forth in the Monitor's Review.

Least Restrictive Environment
The Monitor proposes an alternative measure for selecting LEAs for monitoring of
compliance with least restrictive environment (LRE). (See Dkt. 2555 at p. 34.) Although
the Monitor does not raise a concern with CDE's selection methodology, he proposes


3 See Attachment 12, also available at
https://sites.ed.gov/idea/files/General Supervision 3-29-07.pdf.

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that using Indicator 5b-"Percent of Students in a Regular Class Less than 40% of the
Day"-would be a better measure of LRE than CDE's methodology, which proposed
using Indicator 5c-"Percent of Students in a Separate School or Placement." (Id.) Both
indicators measure the percentage of students who are excluded from the general
education program, and CDE's methodology emphasizes Indicator 5c because
placement of children in separate settings is highly restrictive, and should, consistent
with the State's policy, be considered only in extreme cases. Having too many students
identified in Indicator 5c may indicate a systemic problem of excluding students from
inclusive environments with their general education peers. The curve of variance for
separate schools and placements (Indicator 5c) is far narrower than the variance for the
percent of students with disabilities in a regular class less than 40% of the day (Indicator
5b), indicating less variance 4 in the former group than the latter. Figures 1 and 2 below
display this result.
                                           Figure 1


                             Indicator 5c LRE Separate School
           200

           180

           160

           140
    ~

   -
   ~ 120

    ~ 100
    (l)
   .0
    E
    ;:;)
            80
   z
            60

            40

            20

             0
                 0%   10%   20%    30%   40%     50%      60%    70%   80%   90%    100%
                                          Indicator 5c Percent




4 Variance refers to how many distinct or different measures exist during an observation
and how far apart each measure is from another one. For example, the daily
temperature in a given year in Kansas City, Missouri has more variance, or more
distinct measures that are further apart from each other, than the daily temperature in
San Diego, California, which has fewer distinct measures that are closer together.

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                                                   Figure 2

                                  Indicator 5b LRE Regular Class 40% or less
                35


                30


                25
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                     0%           '10%    20%      30%           40%       50%   60%      70%
                                                  lndici:1tor 5b Percent



As reflected in Figures 1 and 2 above, the data indicates a lack of variance or range of
possible scores when using Indicator 5c (CDE's proposal) rather than Indicator 5b (the
Monitor's proposal) in CDE's selection methodology for LRE. Greater variance impacts
the way LEAs fall into deciles, and greater variance allows for the poorest performing
LEAs to be identified in the bottom 10% of LEAs. Accordingly, while the methodology to
select LEAs for monitoring an LEA's compliance with LRE will remain as described in
the Further Phase 2 Submission, COE will adjust its methodology to adopt the Monitor's
approach to use Indicator 5b rather than Indicator 5c in Intensive Review - School Age.

Small School Districts
As acknowledged by the Monitor, creating a selection methodology to address the small
LEAs is a complicated matter. (See, e.g., 0kt. 2555 at pp. 2, 8, 38.) There are difficulties
or challenges with any selection methodology for LEAs with small population sizes,
because the effect of one student can disproportionately impact the calculated rates.
Using a simple rate calculation would be the least effective method, because most LEAs
selected will be smaller in size due to one or two students accounting for a larger
proportion of the rate. For example, a poor performance by one or two students could
drastically affect the overall rate of the smaller LEA, yet not be indicative of systemic,
LEA-wide poor performance. Selecting LEAs with very small populations for further
monitoring activities based on the performance of one or two students, would
inappropriately emphasize small student size, rather than an LEA's poor effort or other
noncompliance issues. As such, CDE's methodology is focused on selecting the lowest

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performing LEAs based on indicators that suggest a systemic problem, rather than
merely on the size of the student population. This allows the State to appropriately
target its further monitoring activities, corrective actions, and technical assistance to
improve outcomes for students.

To address the concern that size would be a complicating factor in selection, COE
developed its proposal by reviewing best practices used in the health, science, and
social science fields for analyzing small populations. Using small population size to
make inferences lacks precision and can lead to misinterpretation of need. 5 The same
assumptions that can be made for LEAs with large populations-where the effect of one
student's performance does not overly affect the inferences that can be drawn from the
data because the variance is controlled by the overall number of students-cannot be
applied to LEAs with small populations.

Most scientists and statisticians will select one of several methods when faced with
small sizes. 6 One of the most common methods is to exclude small populations from
analysis because experts in the field have concluded that including them in the analysis
and the final calculation does not change the ultimate findings. Federal and State
education authorities have implemented this methodology within the guidance for
Significant Disproportionality and California's statewide accountability system: the
California School Dashboard (See Dkts. 2455-1 at p. 48 and 2478-1 at pp. 6 & 13) COE
employed this method of exclusionary analysis in previous years, which led to a number
of LEAs not being included in the State's initial analysis for selection for monitoring.
Another common method that scientists and statisticians use to stabilize the variance of
small populations and to ensure that the inferences-or conclusions-drawn are more
precise, is to aggregate or run multivariate models that borrow information from
neighboring sources to enhance the population size and reduce the effect of single
cases on the final calculation. In other words, grouping similar small populations (e.g.,
by geography or demographics) stabilizes the influence-or impact-of a single case. In
practice, the purpose of these kinds of aggregations is to reduce error and ensure that
the data indicate that outcomes in the small population are attributable to systemic
issues within the LEA and not the variance of a few students in a small population.
These advanced models are typically known as Bayesian Models, and can vary in
levels of complexity.




5 See   Louis, T. (2018) Bayesian Methods for Small Population Analysis.
6National Academy of Science, Engineering and Medicine (2018) Improving Health
Research on Small Populations (Chapter 7).


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Accordingly, COE selected a simplified version of either a multivariate model or
hierarchical model for its small LEA selection methodology; however, because no
regression analysis was required, no linear model was performed. When constructing
this model, COE used research that examined similar problems, 7 and considered a
number of questions:

       How would small LEAs be aggregated?
      What is the appropriate number to use to aggregate students?

      Are there other considerations from the stakeholders?

Ultimately, COE applied the concepts of Bayesian models and used input from
stakeholders to build the final model. 8

Realizing that every model will have deficiencies and that no perfect model e.xists for
addressing this complicated issue, COE weighed and analyzed different types of
models with stakeholders and considered current research and guidance that exists in
other fields to ensure that LEAs are equitably and appropriately identified. As described,
COE's proposed methodology for analyzing small LEAs is sufficient to meet the State's
obligations under federal law.

In the alternative methods proposed by the Monitor, he also identified many of the same
issues identified by COE with respect to small LEAs; however, he reached a different
conclusion. These differing conclusions, however, do not render the State out of
compliance with federal law. In the following sections, COE identifies a number of
concerns with the Monitor's assumptions and observations that further highlight the
problems with making inferences on small populations using standard rates or
percentages. These concerns show that the methodology proposed by COE is more
appropriate to identify small LEAs.

Meets Requirements
COE is required to make annual determinations under 34 CFR § 300.603(b):

 (1) General. Based on the information provided by the State in the State's annual
performance report, information obtained through monitoring visits, and any other public
information made available, the Secretary determines if the State -


7Korngiebel, 0. (2015) Addressing the challenges of research with Small Populations
American Journal of Public Health.
8 The Further Phase 2 Submission describes the State's policymaking process that led
to its proposed selection methodology with respect to small LEAs. (See, e.g., 0kt. 2545
at pp. 14-16.)

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(i) Meets the requirements and purposes of Part B of the Act;

(ii) Needs assistance in implementing the requirements of Part B of the Act;

(iii) Needs intervention in implementing the requirements of Part B of the Act; or

 (iv) Needs substantial intervention in implementing the requirements of Part B of the
Act.

(2) Notice and opportunity for a hearing.

 (i) For determinations. made under paragraphs (b)(1 )(iii) and (b)(1 )(iv) of this section,
the Secretary provides reasonable notice and an opportunity for a hearing on those
determinations.

 (ii) The hearing described in paragraph (b)(2) of this section consists of an opportunity
to meet with the Assistant Secretary for Special Education and Rehabilitative Services
to demonstrate why the Department should not make the determination described in
paragraph (b)(1) of this section.

(See 20 U.S.C. § 1416(d).)

LEAs that participate in any of monitoring activities are automatically identified as either
"Needs Assistance" or "Needs Intervention." (See, e.g., 0kt. 2455-1 at 8-1 O & 64-65.)
LEAs not selected for review are preliminarily assigned "Meets Requirements." (Id.)
During the 2019-2020 Monitoring Year, COE preliminarily selected over 1,700 LEAs for
a monitoring activity; accordingly, COE would assign these LEAs either a "Needs
Assistance" or "Needs Intervention" annual determination. LEAs that were not selected
for review may still be identified as "Needs Assistance" and "Needs Intervention" if there
was a critical incident or the LEA was found noncompliant and received corrective
actions pursuant to a complaint process. (See id. at 64-65.)

The Monitor asserts that CDE's proposed methodology for small LEAs would lead to a
number of small LEAs being deemed "Meets Requirements" under the IDEA without
further monitoring, despite performance problems related to achievement, suspension,
and/or LRE. (0kt. 2555 at p. 11 ). COE reviewed the Monitor's analysis using the data
provided by COE, but unfortunately, COE could not recreate the total count of small
LEAs the Monitor identified that would be preliminarily designated "meets
requirements," and was therefore unable to verify the analyses exactly as presented by
the Monitor. (See id. at pp. 9-10.) However, operating under the same premise as the
Monitor, COE identified 529 small LEAs (compared to 532 small LEAs identified by the
Monitor) that would be preliminarily designated "Meets Requirements" because these




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LEAs were not identified for a monitoring activity for the 2019-2020 monitoring year. 9
While the difference in total count of LEAs identified is negligible, the distribution of
student count varies. A comparison of the student breakdown in the small LEAs
identified by the Monitor (see 0kt. 2555 at p. 9) to those identified by COE is in Figure
~ which shows that COE identifies 24 additional LEAs with 10 or fewer SWO that would
be deemed "Meets Requirements."
                                                      Figure 3
                                ----         :_
--       --
                                       - ,:"c-__ --   __-Monitor's Analysis·-         , CDE's Analysis
                                                                                     - #LEAs·
     # SWD iri the cen~us count, age                  #LEAs, p~rc:entage             -c_   _--
                                                                                              .-.-Rercentag~
                                                                                                 _--   _- __




                  s~21-                                    -
                                                             _-----:"--_ ic:"9JTotal              -_ ofJotar--   - -




                 Missing                                   3                 0.56%        3           0.57%
                   1-10                                  158                29.70%      182          34.40%
                  11-20                                  137                25.75%      129          24.39%
                  21-50                                  184                34.59%      170          32.14%
                  51-70                                   38                 7.14%       35           6.62%
                 71-100                                   12                 2.26%       10           1.89%
                  Total                                  532               100.00%      529          100.00%


For the 529 small LEAs COE identified, COE has reviewed the information presented in
the Monitor's analyses and recreated the tables provided for the three performance
areas: assessment, suspension, and least restrictive environment. (See 0kt. 2555 at pp.
9-10.) As described below, COE's review of the Monitor's analysis demonstrate the
great impact small counts have on the calculation of rates.
Assessment

The Monitor showed the number and percent of LEAs having a 0.00% proficiency rate
on Math and English Language Arts (ELA) assessments. (0kt. 2555 at pp. 9-10.) A
comparison table in Figure 4 shows the 532 small LEAs identified by the Monitor
compared to the 529 small LEAs identified by COE. The breakdowns are nearly
identical.



9Under COE's methodology, LEAs that participate in only targeted monitoring are
assigned a determination of "Needs Assistance." LEAs that participate in Intensive
Monitoring are assigned a determination of "Needs Intervention." If an LEA does not
participate in a monitoring activity and does not otherwise have complaint
noncompliance during the monitoring year, they are assigned a "Meets Requirements"
determination.

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                                                        Figure 4
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:.~sse~sments -:..•. : :/i};:1;>,.).:..'
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                                        l
                                                .. #LEl\~"i _         %.k,~As.t -·· ·• '#LEAs        %LEAs.·-··
                                                                                                      - =- ~- -
                                                                                                             --=   -___ - - - '


 No ELA or Math Scores                               55               10.34%              55         10.40%
 0% Proficiency Rate for ELA                         94               17.67%              95         17.96%
 and 0% Proficiency Rate for
 Math
 0% Proficiency Rate for ELA                         15                2.82%                 15          2.84%
 but Greater than 0%
 Proficiency Rate for Math
 0% Proficiency Rate for Math                        78               14.66%                 75         14.18%
 but Greater than 0%
 Proficiency Rate for ELA
 Greater than 0% Proficiency                        290               54.51%                 289        54.63%
 Rate for ELA and Math
 Total                                              532               100.00%                529        100.00%


The Monitor notes that the majority (371 of 532) of the small LEAs he identified as
preliminarily designated "Meets Requirements" has at least 11 total SWD in the age 6-
21 census count. (0kt. 2555 at p. 9.) However, only grades 3-8 and 11 are tested in
California. (Cal. Ed. Code§§ 60600 et seq.) Analyzing the students assessed in the 529
small LEAs, and not those in the census count, shows that 64% of these LEAs have 11
or fewer students, highlighting the challenges of using a single rate calculation for
selection. Sixty-eight percent of LEAs have fewer than 20 students, meaning that each
student accounts for 5% of the rate calculation performed for the LEA. Additionally,
none of the LEAs have more than 70 students tested. See Figures 5 and 6 below.
                                                        Figure 5


                # ELA Participants

                         Missin                                         54                         10.21%
                           1-10                                        244                         46.12%
                          11-20                                        117                         22.12%
                         21-50                                         103                         19.47%
                          51-70                                         11                          2.08%

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           # .ELA Participants .                                         Percent of Total

                 71-100                             0                                 0.00%
                  Total                            529                               100.00%




                                                                =<----   -=--   :- ~-- ,'"_ -   - _- __-   -   _--   -


                                                                t5Rer9ent:sof T<>~tal
                                                    55                                 10.40%
                                                   245                                 46.31%
                  11-20                            115                                 21.74%
                  21-50                            103                                 19.47%
                  51-70                             11                                 2.08%
                 71-100                              0                                 0.00%
                  Total                            529                                100.00%


The Monitor states that of the 532 small LEAs he identified, "over one-third of these
districts (35.15%) had 0.00% proficiency rates on both assessments or on one
assessment." (0kt. 2555 at p. 10.) But the Monitor's analysis does not include student
counts, and therefore doesn't reflect the impact a few students have on an LEA's overall
proficiency rate. As shown in Figure 7, on average, the number of SWD tested is 14,
and more specifically, the average number of SWD assessed in the LEAs that the
Monitor identified as having performance issues is only approximately eight.

                                        Figure 7

                                                     CDE Additi<>pal Analysis or\
                                                     Particip~Jlts~(Denomin~tor c,f .·
                                                           f>roficienc Rate        .
                 Assessments .                     Averc1ge}fELA      AyEO:ige # Math
                                                    Particl ants      .·. Partici ants
 No ELA or Math Scores                                   .02                   0
 0% Proficiency Rate for   ELA and                      5.72                  5.64
 0% Proficienc Rate for    Math
 0% Proficiency Rate for   ELA but Greater than          8.8                                               8.8
 0% Proficienc Rate for    Math



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                                                    - COE Additional Analysisort
                                                  - Participants (D.en9111inatgr of
                                                           Proficienc ~Rate
                                                  Average # ELA Av~xage-# Math
                                                   Partici ants       PiirticT ants
 0% Proficiency Rate for Math but Greater than          8.95               8.88
 0% Proficienc Rate for ELA
 Greater than 0% Proficiency Rate for ELA and          18.99               18.95
 Math
 Total                                                 14.39               14.37


Lastly, COE conducted further analysis of the count of SWO participating in
assessments in the small LEAs with a 0.00% proficiency rate for ELA. Using the
Monitor's N-size of at least 11 students, only 18.02% (or 20 of 111 small LEAs) have at
least 11 SWO participating, and an overwhelming majority (almost 82%) had 10 or
fewer SWO participating the ELA assessment. As shown in Figures 8 and 9, there are
similar percentages of participation when analyzing small LEAs with a 0.00% proficiency
rate for Math.




                 1-5                             64                    57.66%
                6-10                              27                   24.32%
                11-26                             20                    18.02%
                Total                            111                   100.00%




                                                                        50.00%
                6-10                             49                     28.82%
                11-35                            36                     21.18%
                Total                            170                    100.00%


Upon further analysis of the LEAs with a 0.00% proficiency rate for ELA, COE identified
six LEAs as .having a Math proficiency rate of greater than 20% (much higher than the
statewide proficiency rate of 12.4%), and COE identified one LEA with a 100% Math

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proficiency rate. The average number of SWD assessed in these LEAs is four. Figure
1O displays the proficiency rates for these six LEAs.

                                                      Figure 10


                                                                                           Math '

  LEA         #ofSWD                                                                      #SWD•                     %SW0
              Proficient_   Assessed····                                                                  _-_-. Proficient

       1          0                2                   0%                    1                     2                    50%
       2          0                2                   0%                    2                     2                    100%
       3          0                3                   0%                    1                     3                    33%
       4          0                4                   0%                    2                     4                    50%
       5          0                5                   0%                    1                     4                    25%
       6          0                8                   0%                    2                     9                    22%


For the small LEAs with a 0.00% Math proficiency rate, COE identified 42 LEAs as
having an ELA proficiency rate of greater than 20% higher than the statewide
proficiency rate of 16.2%. As shown in Figure 11, the average number of SWD
participating in assessments is about five, and only four of the 42 small LEAs have
greater than ten SWD participating in the assessments. Again, these simple rate
calculations exemplify the effect the performance of one or two SWD can have in a
small LEA otherwise showing successful outcomes.

                                                      Figure 11
                                                            •••   C.
                                                                                                           ·•                  ..

                                                                                                                               ..




                                  ELA>                                                    Math
  .·
                                       -
                                       .
                                           .

                                               .
                                                                  .,.                      -   .
                                                                                                                .   .
                                                                                                                               ..




 LEA         #ofSWD          #SWb                   o/oSWD              #of SWD           #SWD              %SWD
             Proficient     Assessed               Proficient           Proficient       Assessed          Proficient
                                                                                 .
                             ..

                                                                                     \
  1              1                 1                 100%                   0                      1                    0%
  2              1                 1                 100%                   0                      1                    0%
  3              2                 2                 100%                   0                      2                    0%
  4              1                 1                 100%                   0                      1                    0%
  5              1                 2                 50%                    0                      2                    0%
  6              1                 3                  33%                   0                      3                    0%
  7              2                 5                 40%                    0                      5                    0%
  8              1                 4                 25%                    0                      4                    0%

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                           ELA                                           Math                                               -



                                                                                                   -   -               --
                                                                                                           - __   --



LEA     #ofSWD        #_SWD         %SWD           # of SWO.         #SWD> - _ - % SV\71:l
                                                                     -   -   -   __   -   -   :-



        Proficient   Asses$ed·•·- -Proficient      Proficient   Asse~secL __ •Proficient -
                       -                                         -

                                 --
                                      -_ - - : >
                            -
 9          2               3               67%        0                     3                                    0%
10          2               5               40%        0                     5                                    0%
11          2               6               33%        0                     6                                    0%
12          2               3               67%        0                     3                                    0%
13          1               3               33%        0                     3                                    0%
14          4               5               80%        0                     5                                    0%
15          1               3               33%        0                     3                                    0%
16          1               4               25%        0                     4                                    0%
17          2               7               29%        0                     7                                    0%
18          1                1              100%       0                     1                                    0%
19          1               3               33%        0                     3                                    0%
20          2               7               29%        0                     7                                    0%
21          2               7               29%        0                     7                                    0%
22          2               7               29%        0                     7                                    0%
23          1               4               25%        0                     4                                    0%
24          1               3               33%        0                     3                                    0%
25          1               4               25%        0                     4                                    0%
26          2               6               33%        0                     6                                    0%
27          2               6               33%        0                     6                                    0%
28          5               16               31%       0                     16                                   0%
29          4               7               57%        0                     7                                    0%
30          4               16              25%        0                     16                                   0%
31          2              -5               40%        0                     4                                    0%
32          1               3               33%        0                      3                                   0%
33          2               8               25%        0                      8                                   0%
34          3               11              27%        0                     11                                   0%
35          2               6                33%       0                      6                                   0%
36          3               11              27%        0                     11                                   0%
37          1                1              100%       0                      1                                   0%
38          4               8               50%        0                      7                                   0%
39          2               5               40%        0                      5                                   0%
40          2               6                33%       0                      6                                   0%
41          2               7               29%        0                      7                                   0%
42          3               8                38%       0                      8                                   0%

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Suspension
The Monitor also displayed the frequency and percentage of the 532 small LEAs that
would be labeled as "Meets Requirements" by suspension rate alone. (0kt. 2555 at p.
10.) Similar to the analysis for assessment, Figure 12 shows the distribution by
suspension rate for the 529 small LEAs COE identified.
                                                             Figure 12

                             .·
                                         Monitor's Analysis                                                      CDE's Analysis
      - SuspensionRate             - - # LEAs       "% LEAs                                                 -_ # LEAs      %LEAs                   ·.



i\
                                                             <               _-              _-                         -.--   -                   ·.




     No suspension rate                         14                           2.63%                               15                    2.84%
     0.00%                                     350                       65.79%                                 346                   65.41%
     .01-2.49%                                  36                        6.77%                                  37                    6.99%
     2.50-4.49%                                 34                        6.39%                                 34                     6.43%
     4.50-9.99%                                    58                     10.90%                                58                     10.96%
     10.00% +                                      40                     7.52%                                 39                     7.37%
     Total                                     532                       100.00%                                529                   100.00%


COE and the Monitor propose different analyses for this indicator. Specifically, COE
proposes that the analysis focus on the average number of SWOs, while the Monitor
focused on those LEAs with a suspension rate of 4.5% or greater. However, in the small
LEAs, the rate can be dramatically impacted by one or two students. In the LEAs the
Monitor focused on (LEAs with a suspension rate of 4.5% or more), each SWO
accounted for a total of 3.69 to 4.47% of the LEA's total suspension rate for all students.
In other words, each of those small LEAs would only need, on average, one to two
students suspended one time to be identified under the Monitor's selection
methodology. As noted, such approach can paint a misleading picture of an LEA's
overall performance, and would lead to the State redirecting resources away from those
LEAs who may have a systemic problem in this area. Figure 13 illustrates this point
using the 529 small LEAs COE preliminarily identified as "Meets Requirements."
                                        Figure 13
                                                                                        ..
                                        .   ----        ·>       ...

                                                                                  >__             -_
                                                                                                       ..



                                                                                                            -

                                                             -                          -Avg#SWD                               Impact of 1
     Suspension Rate         Avg#                              Avg%
                          Suspensions                        Suspended                    ages 6-21                              student -
     No suspension                n/a                                  n/a                             10.67                       9.37%
     rate
     0.00%                        0                               0.00%                                16.58                       6.03%

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        -   _-_       --                                                                                        _----   -       -       _-_


 Suspensior1Rat¢     >_-__ Avg'/} .-._ •• _ Avg%          Avg #SWD                                     J111pact of}•--·-.-
                      Sijspensions< - - •_-_ -Suspended    ages 6-2-1  ·__ -                           - student                              -
                                                                 -,_
                                                           -_- _-_   -_
                                                                     --~-- ---   - --   -   -_-   _-


 .01-2.49%                  1.08             1.67%                   50.05                                 2.00%
 2.50-4.49%                 1.26            3.34%                    32.85                                 3.04%
 4.50-9.99%                 2.31            6.63%                    27.1                                  3.69%
 10.00% +                   4.18            15.92%                   22.38                                 4.47%
 Total                      0.74            2.60%                    21.44                                 4.66%
CDE's calculation of the suspension rate for purposes of selecting LEAs for Intensive
Review - School Age does not employ the same methodology and cutoffs used in
CDE's selection of LEAs for Targeted Monitoring - Performance as the Monitor
describes in his Review (Dkt. 2555 at p. 10). CD E's selection of LEAs for Targeted
Monitoring - Performance uses the Dashboard to measure performance in suspension,
identifying small LEAs scoring Red or Orange (the worst performance colors) or
showing a positive (i.e., higher) suspension rate than the previous year.
As a reminder, Intensive Review - School Age ranks large LEAs and small LEA groups'
performance in suspension by deciles. In reviewing the decile breakdown of
suspension, it is unclear how the Monitor arrived at a 4.50% suspension rate to flag an
LEA as not "Meets Requirements" under the IDEA. As the breakdown by decile in
Figure 14 below shows, for the large LEAs and small LEA groups, a 4.5% suspension
rate is decile rank 7.
                                          Figure 14


 Dashboard Suspension
                                                                                                            -               -       -   ---


    Decile           Rank                       Min                                                    _    Max.
     :S 10            1                    11.36449%                                                   35.20000%
     11-20            2                    9.44882%                                                    11.33603%
    21-30             3                    7.97101%                                                     9.40171%
     31-40            4                    6.57895%                                                     7.96460%
    41-50             5                     5.42927%                                                    6.57277%
     51-60            6                    4.66926%                                                     5.42888%
    61-70             7                    3.73134%                                                    4.64602%
    71-80             8                    2.53353%                                                     3.70370%
     81-90            9                     1. 16959%                                                   2.52101 %
    91-100            10                    0.00000%                                                    1.16279%




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Further, based on the breakdown by decile ranking, using a suspension rate of 10.00%
or more as the cutoff would result in 39 of the 529 LEAs (or 7%) being preliminarily
identified as "Meets Requirements." Additional analysis of these 39 LEAs reveals that
the average number of SWD suspended is about four, and the average total number of
students enrolled is 26.

Figure 15 displays the impact of a single student suspension in a small LEA serving 26
SWD. Indeed, as illustrated in Figure 15, assuming that the suspension event at this
LEA is based on a single fight during the school year involving three SWD, and each
such student is suspended for one day, the resulting suspension rate for that LEA would
be 11.54%.

                                        Figure 15


              1                             26                           3.85%
              2                             26                           7.69%
              3                             26                           11.54%


When COE translates the impact small student counts have on an LEA's suspension
rate, each student represents nearly 4% of the rate. If a small LEA with only 26 SWD
suspends two SWD, its suspension rate is over the 4.50% rate proposed by the Monitor
using his approach. (Dkt. 2555 at p. 11.) But omitting the student count leads to false
red flags suggesting that an LEA is in need of targeted monitoring for performance
when it is not.
Least Restrictive Environment
Lastly, the Monitor identifies performance issues in the five areas of LRE for the small
LEAs he identified as "Meets Requirements." (0kt. 2555 at p. 11.) Specifically, the
Monitor takes issue with the fact that a low number of the 532 small LEAs he identified
did not meet the statewide State Performance Plan (SPP) targets for Federal Fiscal
Year 2018 (FFY 2018) targets. (Id.)

Figure 16 illustrates CD E's analysis of the 529 small LEAs it identified preliminarily as
"Meets Requirements" compared to the 532 LEAs identified by the Monitor, with
additional data in Figure 17 below.
                                         Figure 16




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                                                                           CDE's Analysis -

                                      FFY 2018     # Small LEAS not        # Small LEA not
             Indicator
                                       Target       meeting Target         meeting Target

 5a. Percent students in regular      ~52.20%              40                     41
 class for greater than 80% of
 the school da
 5b. Percent students in regular      s21.60%              35                     37
 class less than 40% of the da
 5c. Percent students in              s3.80%               28                     31
 se arate lacements
 6a. Percent children in regular      ~35.90%              39                     41
 earl childhood ro ram
 6b. Percent children in              :531.40%             24                     27
 separate classes, separate
 schools and residential facilities


The Monitor is correct that CDE's methodology would mean that there are some small
LEAs that would not be been identified for Targeted Monitoring - Performance even
though the LEA did not meet the SPP target for an applicable LRE indicator. But CDE's
methodology does not use SPP targets for LRE indicators when analyzing small LEAs
because the indicator uses rates and percentages, which, as described above, can lead
to inappropriate selection outcomes with respect to small LEAs. Applying rates or
percentages to a small population creates the outcomes of disproportionate influence of
one data point on the score, which is what CDE's methodology attempts to avoid. As
shown in Figure 17, when analyzing the number of SWD for each of th~se LRE
indicators (which were not included in the Monitor's analysis), COE found that a large
proportion of these LEAs have fewer than ten SWD. This is especially true in relation to
the two preschool LRE indicators, where over 97% and 88% of LEAs have fewer than
10 children with disabilities (CWD) 10 in Indicator 6a-"Percent Children in Regular Early
Childhood Program," and Indicator 6b-"Percent Children in Separate Classes,
Separate Schools and Residential Facilities," respectively.




°
1 Children with IEPs ages 3-5 are referred to as "children with disabilities" (CWD) rather
than "students with disabilities" (SWD).

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                                       Figure 17

                                                                               Percent of
                                                                               Small LEA
                                                                     # Small
                                                                                with less
                                                                       LEA
                                                                                than 10
                                                                                ···swo
5a. Percent students in            17.27              24               41        58.54%
regular class for greater
than 80% of the school da
5b. Percent students in            17.7               21               37        56.76%
regular class less than 40%
of the da
5c. Percent students in            19.84              12               31        38.71%
se arate lacements
6a. Percent children in            2.54               40               41        97.56%
regular early childhood
  ro ram
6b. Percent children in            4.59               24               27        88.89%
separate classes, separate
schools and residential
facilities


Figure 18 compares the small LEAs COE identified to the small LEAs the Monitor
identified with respect to the number of targets missed.
                                       Figure 18


>:#Target~,~1ssed '    . # Ll:As     .:, r· Jlo"'.qf~~As ..•.... :   #.~.~f:\S \>:' , %of~E:~s
None                       410               77.07%                    403           76.18%
One                         84               15.79%                     85            16.07%
Two                         33                6.20%                     34            6.43%
Three                        4                0.75%                      4            0.76%
Four                         1                0.19%                      3            0.57%
Five                         0                0.00%                      0            0.00%
Total                      532               100.00%                   529           100.00%


COE analyzed the school-age LRE indicators (Indicators 5a, 5b, and 5c) separate from
the preschool-age LRE indicators (Indicators 6a and 6b). As seen in the previous two
areas in which the Monitor expressed concerns, the average number of SWO is very
small. To put this into perspective, Figures 19 and 20 includes an additional column

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that shows the percentage change that one SWD or CWD makes to a small LEA's
placement rates under LRE indicators. The FFY 2018 SPP Target for Indicator 5b-
"Percent Students in Regular Class Less Than 40% of the Day," is :::;21.60%. Figure 19
shows the impact one student can make to a small LEA's placement rate in this
indicator ranges between over 4% to nearly 8%.
                                      Figure 19
                                                       _ -_-_        -c-:_                                            _-_
 LRE School,i.Age   1-
                                                                             -,c ---    --
                                                                                                               ----     -         ------ ---    __-
                                                                                                                                                         _,_,_-_,-
 # Targets Missed        # LEAs          0
                                          /o-<>ft:EAs
                                             --                 -_
                                                                                             Avg #    of-~VVD -             -_
                                                                                                                                               Impact of 1
                                                  ---cc-~-
                                                                                                   5.::21-        ---
                                                                                                                                 1--_ --;~ -
                                                                                                                                      - -        student  --



 None                      446               84.31%                                                21.8                                           4.59%
 One                        59                11.15%                                               22.1                                           4.52%
 Two                        22                4.16%                                                12.59                                          7.94%
 Three                       2                0.38%                                                 20                                            5.00%
 Total                     529               100.00%


One CWD has an even greater impact in the two preschool age LRE indicators. Figure
20 shows that each child accounts for over 26% of the LEA's total placement rate in
these indicators.



- LRE Preschool-
       A   e
 #Targets Missed                                                                       -__ - _ ~Avg # of G\,,'\J[) _-                          lmpa~(Qf1-_ -
                                                                                                     3-5 .- "--                                   ch]ld-
 None                      477               90.17%                                                 3.51                                         28.49%
 One                        36                6.81%                                                   3                                          33.33%
 Two                        16                3.02%                                                 3.75                                         26.67%
 Total                     529               100.00%


Thus, the Monitor's concern that small LEAs would avoid monitoring under CDE's
methodology for small LEAs is unfounded, because each student in the LEA is
monitored as part of a group. Additionally, LEAs are measured on a number of metrics
prior to COE assigning the LEA an annual determination. In general, LEAs that are
deemed "Meets Requirements" have these common characteristics:
   1. They are not the lowest 10% of LEAs and LEA groups across the six (fil
      indicators most closely associated with FAPE, combined.



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     2. The LEA or LEA groups have met the all the targets for Dropout, School Age
        Least Restrictive Environment (3 indicators), Assessment Participation,
        Preschool Least Restrictive Environment (2 indicators), Parent Participation, and
        Post-school outcomes (3 indicators).
     3. The LEA has met the 60-day timeline and the Part C to Part B transition timeline
        for all students referred and assessed in the academic year.
     4. The LEA has zero (0) late IEPs or triennials.
     5. The LEA was not selected for Targeted Monitoring - Disproportionality or
        Intensive Monitoring - Significant Disproportionality.
     6. The LEA or LEA group Child Find was above 1.5 standard deviations from the
        mean.
     7. The LEA did not have any qualitative factors that indicate further need for
        monitoring (e.g., critical incidents, complaints).
COE previously highlighted that the effect of small populations should be considered
when making annual determinations. 11 As demonstrated above, CDE's methodology for
selecting LEAs for further monitoring activities and the subsequent annual determination
is based on LEA performance, and not the impact one or two students could have on an
LEA based on the LEA's size. COE developed a simplified Bayesian methodology
regularly employed in related fields to address challenges with small populations. CDE's
analysis of a single-rate percentage methodology employed by the Monitor shows that it
can result in artificially inflated scores that paint a false narrative about a small LEA's
overall performance. Using a rate for a small population would equate one student in a
small LEA to a hundred or more students in larger LEAs. 12 CDE's methodology strikes
the appropriate balance of analyzing each LEA's performance and identifying those
small LEAs with systemic issues for further monitoring activities.

Child Find
In the area of Child Find for students ages 6 through 21, the Monitor concludes COE is
noncompliant, stating that the grouping of small LEAs prevents identifying "worse-
performing districts" and that the methodology COE employs to identify a small LEA is



11 See, e.g., Testimony of Shiyloh Duncan-Becerril at 4/29/19 Hearing (Tr. at 199: 13-20
& 201 :22-202:21).
12Korngiebel, D. et al. (2015). Addressing the challenges of Research with Small
Populations. American Journal of Public Health.


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problematic. 13 (0kt. 2555 at p. 15.) However, the Monitor did not take issue with COE's
methodology used for selecting large LEAs in this area, including the cutoff COE used
for selection and the COE's count of large LEAs. As discussed below, COE has
addressed the Court's concerns set forth in the 7/5/19 Order with respect to Child Find,
and the Monitor's criticisms do not render COE out of compliance in this area.
COE's performance metric 14 to identify LEAs for targeted monitoring in the area of Child
Find is the rate of SWO in the LEA. To identify LEAs in need of further monitoring in this
area, COE uses the same definition as in other processes to identify and group small
LEAs (i.e., LEAs with 100 or fewer SWO). COE applies a calculation to small LEA
groups and large LEAs to obtain the Child Find rate by dividing the number of SWO by
the total students enrolled in the LEA. COE determines a mean rate of the small LEA
groups and large LEAs and then calculates standard deviation and then identifies those
small LEA groups and large LEAs below 1.5 standard deviations from the mean rate.
For the 2018-2019 school year, 744 small LEA groups and large LEAs generated a
mean identification rate of 11.58%, and 1.5 standard deviations from the mean is
7.23%.
It is important to understand how COE identified 7.23% as the cutoff for selection. The
result of 1.5 standard deviations from the mean is relative to the group of LEAs it
measures. Altering the group of LEAs alters the mean identification rate as well as the
percentage that corresponds to 1.5 standard deviations from that mean. The
significance of 7.23% as a cutoff for selection is only appropriately understood relative
to the group that it measures. And in this case, that group is the small LEA groups and
large LEAs. The rate of 7 .23% is not an arbitrary percentage; it is a direct result of a
statistically sound method of interpreting data. Figure 21 displays the specifics for the
small LEA groups and large LEAs. 15 The percentage used as a cutoff for selection is 1.5
standard deviations from the mean percentage.



13   Child Find with respect to children ages 3-5 is addressed further below.
14COE clarifies this as a "performance" metric as opposed to a "compliance" metric to
emphasize that this analysis is in addition to the analysis COE already conducts to
ensure that all students, ages 3 through 21, are evaluated for a disability in a timely
manner. COE uses SPP Indicator 11 to measure and monitor for compliance in this
area. Timely evaluation is included in Targeted Mor,itoring - Compliance, and LEAs
must meet the 100% target to avoid being selected for further monitoring in this area.
15In response to the data set received on February 14, 2020, the Monitor identifies
LEAs with missing Child Find rates as well as LEAs with a rate above 100%. (See 0kt.
2555 at p. 13. n.15 and p. 14.) COE recognizes these area anomalies and has taken the


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                                                Figure 21
    ,,
                            #ofLEAs_ I,' Mean               1 Std.   1.5 Std.         Cutoff%
                                     , Percentage
                                        -   -
                                                             Dev.      Dev.      ,'
                                                                                         for
           -   -_
                              -   -                                  -                Selection
  Grouped Small LEAs              744            11.58%     2.90%        4.35%         7.23%
  and Large LEAs




The Monitor explores two options, both of which use 7.23% as a cutoff for selection for
some LEAs. (0kt. 2555 at p. 15.) In his first option, the Monitor suggests retaining the
COE definition of small LEA (i.e., an LEA 100 or fewer SWO ), but his methodology
does not group small LEAs, and it applies a different methodology to selecting small
LEAs for further monitoring by identifying 108 of the small .LEAs with lowest Child Find
rate to match to the total count selected by COE. (0kt. 2555 at p. 14.) But the Monitor
concludes this methodology is problematic because it selects too many very small
di~tricts. In the second option, the Monitor changes the definition of a "small LEA" to an
LEA with fewer than 1,000 students enrolled, again uses 7.23% as a cutoff selecting
LEAs with 1,000 or more students, and then identifies and selects the 74 of the small
LEAs with the lowest Child Find rate.
These two methods are problematic. First, as noted above, the significance of 7.23% as
the cutoff exists only as a measure of the small LEA groups and large LEAs grouped
using COE's methodology.
Second, of particular concern, is the Monitor's identification of small LEAs, in which he
merely selects a number of LEAs with the lowest rate to match to the total count of
LEAs that COE identified. While this may have been for comparative purposes, merely
selecting the bottom 108 LEAs (as in the Monitor's option 1 approach) or bottom 74 (as
in the Monitor's option 2 approach) does not seem to be tied to a specific theory of
selection or calculation. Nor does it account for the LEAs whose rate is above that for
the small LEAs identified (2.78% used in the Monitor's option 1 approach and 2.75% in
the Monitor's option 2 approach) but below that (7.23%) used for large LEAs.
It is not necessary to adopt the Monitor's definition of small LEA to adequately and
appropriately identify those small LEAs in need of targeted monitoring in the area of
Child Find. CO E's definition of small LEAs as those with 100 or fewer SWO is adequate,
and it not necessary to use a definition of small LEAs as those with fewer than 1,000
students enrolled, as the Monitor proposes. COE's grouping of small LEAs reduces the

steps to address an error in the coding to prevent future issues. All figures as a result of
additional analyses contained herein exclude these LEAs.

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variability, reduces the standard deviation, and mitigates the Monitor's concern with
potential overidentification of very small LEAs in this area.
Additionally, COE's methodology was driven by using methods that are repeatable,
transparent, and easily understood. If COE were to employ the Monitor's grouping and
selection method for small LEAs in his option 2 approach, it would differ from how small
LEAs are treated for all other calculations used to identify them for selection in targeted
monitoring . Further, unlike COE's approach, the Monitor's selection of small LEAs does
not seem to have a clear method, nor does it seem to employ a clear definition of "poor
performing" (e.g., a static percentage).

Intensive Monitoring
Preschool Age
The Monitor concludes COE is not compliant in its method and process used to identify
and select LEAs for intensive monitoring in the area of preschool for several reasons.
As explained below, COE's approach as set forth in the Further Phase 2 Submission
adequately addresses the Court's concerns related to preschool and complies with
federal law. (0kt. 2545 at pp. 28-33.)
Before addressing the substance of the Monitor's criticism, there is one point in need of
clarification at the outset. The Monitor states there is no Child Find indicator included in
the analyses for Intensive Review - Preschool, but provides no further discussion on the
matter, no alternatives to incorporate into the analyses, and no reasoning as to why this
indicator should be required in the State's selection of LEAs for Intensive Review. As
noted in 7/5/19 Order, although the State is interested in developing a measure for Child
Find for children ages 3 through 5, there is no appropriate method for doing so as there
is no universal preschool, an explanation which the Court found adequate for purposes
of the assessing the State's compliance in this area. 16 (0kt. 2520 at 17 n.5.) Further,
COE does not agree that Child Find should be an indicator for Intensive Monitoring-
Preschool. COE has explained that it will use Child Find to select LEAs for Targeted
Monitoring - Performance, and the cutoff used to identify LEAs in this area has already
been altered in direct response to the Monitor's concerns.
Analysis and Selection of Small LEAs
One of the Monitor's main concerns is COE's methodology for grouping small LEAs. In
the alternatives provided, the Monitor separates out LEAs by size, offering different

16 Note that Indicator 11-"Timely Evaluation for Special Education Eligibility," includes
all students ages 3 through 21, and is included in COE's methodology for selecting
LEAs for Targeted Monitoring - Compliance. Any LEA with less than a 100%
compliance rate in this area will be selected for further monitoring activities.

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approaches for large and small LEAs in an attempt to identify "lower performing" LEAs.
The Monitor's initial approach to analyzing LEAs is fundamentally different from the
approach employed by COE, and seemingly stems from the Monitor's belief that
grouping small LEAs would inadvertently lead to LEAs escaping monitoring.
The issue can be analyzed by treating small and large LEAs as two separate groups.
Using 100 or fewer CWD to define a small LEA, Figure 22 shows the comparison of the
two groups. There were 1,349 LEAs serving CWD ages 3 through 5 in the 2018-2019
school year.
                                            Figure 22



                                                     1,132
                                                       15
                                                    16,564


As shown in Figure 22, 84% of LEAs serving CWD ages 3 through 5 are small LEAs.
Second, on average, large LEAs serve 307 more CWD than small LEAs do.


Figure 23 shows the breakdown for the 1,132 small LEAs by range of child count.
About 67% of small LEAs (756) serve fewer than ten CWD and just over half, 51 %, or
574 small LEAs, serve only one to four CWD.
                                            Figure 23

                     Age 3-5, Count and Percent of Small LEAs (S100) by Range
             700

             600       . . . . . 574...

             500
       ~
       ~ 400
       'o
        i::
         ::::i
               300
        0
        ()
             200
                                                                        111
             100

                0
                                    1-4    5-9               10-49       50-100

                                           CWD Count Range


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The Monitor recognizes that small student populations can have certain impacts, but
has a different view than COE on how to effectively address the implications.17 In
grouping small LEAs, CDE's methodology minimizes the impact one child has and
avoids the likelihood that a small student count will be the ultimate determining factor in
an LEA's selection for further monitoring activities, rather than a systemic performance
issue. Grouping the LEAs as COE proposes levels the playing field, and minimizes the
impact of one or two, or even five children creating a misleading "red flag" and leading
to an inappropriate designation of "Needs Intervention." Further, CDE's methodology is
more likely to identify small LEAs in need of further monitoring and technical assistance
as required by the IDEA.
The Monitor includes a comparison table exhibiting the extent to which "low performing"
small LEAs were identified for monitoring. (0kt. 2555 at p. 27.) The Monitor goes on to
provide an alternative methodology for selecting small LEAs. Removing CDE's process
of grouping small LEAs, the Monitor appears to have simply reviewed small LEAs and
employed a mixed approach to determine definitions of "lowest scoring," using CDE's
methodology of 0% of children placed in the regular classroom and 100% of children in
separate schools and placements, and the Monitor's own definitions for average rate of
child outcomes, average score below 50%, and suspension and expulsion rate >2.00%.
This proposal results in the identification of 30 small LEAs, only 5 more than would be
identified under the CDE's proposal, but each LEA only served 1, 2 or 3 children, which
is less than the number of children served by the LEA's COE identified using its
methodology.

The Monitor proposes a second alternative for selecting small LEAs. Employing the
same methodology of ranking LEAs scores by decile, scoring, summing up and dividing
to calculate a percentage, the Monitor identifies 26 small LEAs he believes are in more
need of monitoring than the 25 small LEAs COE identified. 18 But five of the same small




17 (See Dkt. 2555 at p. 28.) The Monitor identifies 558 out of 1,132 small LEAs have "at
least five preschool children." (Id.) It's unclear why the Monitor uses this N-size of five in
this area, whereas in a previous section of his Review of the Further Phase 2
Submission, the Monitor identifies the significance of an LEA having at least "11
students with disabilities." (0kt. 2555 at p. 9.)
1a Again, the Monitor notes the impact of LEA size, but instead of proposing an
alternative that addresses the impact small student count on assessing small LEA
performance, he notes that "disaggregation by district size ... could be considered." (0kt.
2555 at p. 28.) The Monitor does not provide any support as to why one "poor
performing" LEA would be more in need of monitoring over another "poor performing"
LEA. (Id.)

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LEAs the Monitor identified were also identified by the COE using the COE's
methodology.

Looking more closely at the 26 LEAs the Monitor identified, COE recreated the Monitor's
use of the decile method, removed preschool outcomes, and was able to identify the
exact number of LEAs identified as lowest scoring. However, COE also identified that
there is a large difference between the Monitor's counts and COE's counts of small
LEAs selected for suspension/expulsion, as shown in Figure 24. COE expects the issue
is related to the "variability" issue noted by the Monitor, but is uncertain how the Monitor
only selected two small LEAs for suspension/expulsion, when COE identified 20 small
LEAs. This discrepancy is important because the Monitor explains that his methodology
identifies more small LEAs based on placement alone, but this is not supported by the
review of the LEAs selected by the Monitor. COE finds that when applying the decile
methodology, there are in fact 18 more LEAs selected for suspension than were
identified by the Monitor. COE cannot find the source of the discrepancy, which may be
an error on the part of the Monitor.


                                            Figure 24

                             Mofiitor'sAnalysis        . ~::....-·    •· ·······-. CDE's~nalysis{'        ··
 Indicator          . #of    ~='fl._of      .. <{%of ·t #of LoW.est      =:#.bf                 ~-%of ·...
                  · Lowest <t:o;vi.,est- ·..• ,lowest£.-· Scoring   · t.:c?west-             _ .•.Lowest--<


Suspension
              -
                   5
                    L~tg f~t~;i ~ .''.-~t,i~~ir · -_L.~~ -
                       55           2        3.64%                   55
                                                                               ~:~~~~i~.
                                                                                   20
                                                                                               ::i~~ia~· -
                                                                                                36.36%
/Expulsion
Preschool              113          8        7.08%                   113            8           7.08%
Regular
Preschool              121          20       16.53%                  121            13          10.74%
Separate
Schools


Figure 25 provides more information regarding these small LEAs, by including the
count of these small LEAs that serve very small populations of CWO.
                                            Figure 25


<5                                                 7                              26.92%
6-25                                               3                              11.54%
26-50                                              4                               15.38%
51 +                                              12                              46.15%
Total                                             26                              100.00%

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Preschool Outcome Data and "Lowest Performing" Districts with Multiple
Indicators·
Preschool outcome data is an appropriate indicator, and COE does not agree with the
Monitor that preschool outcome data should be removed as an indicator to ass.ess an
LEA's need for Intensive Monitoring. Indeed, it appears that there was an agreement on
this point between COE and the Monitor at the April 29, 2-019 hearing. 19 This is
especially true for large LEAs, since the majority of large LEAs (and the small LEA
groups, for that matter) had adequate data to analyze. Specifically, 97% of large LEAs
and about 84% of small LEA groups have preschool outcome data. It is also unclear
why removing an area key to ensuring effective monitoring in FAPE on the LRE is
appropriate when it appeared COE and the Monitor previously agreed on this point. 20
The Monitor's proposal would also reduce the factors used for selection of LEAs to only
two areas: suspension and placement. Again, this appears to be at odds with the
Monitor's prior criticisms of COE's selection methodology, in which he argued COE
based selection on too few elements. (See, e.g., 4/29/19 Hearing Tr. at 111 :2-11; see
also generally 0kt. 2469 at p. 71.) The Monitor reasons that COE stressed the
importance of monitoring placement due to a statewide slip in performance, but
placement already accounts for two of the four indicators included in the selection
formula, and this proposal would impose even more importance on placement over
outcomes, especially for LEAs with adequate outcome data for COE to analyze. COE's
view is that both placement and outcomes should play a role in identifying LEAs for
Intensive Monitoring - Preschool.
The Monitor includes tables to show how many LEAs are decile 1 (ranked as the
poorest performing) for each indicator, for both small and large LEAs, and compares the
LEAs COE identified for monitoring to those LEAs that were not identified. (See 0kt.
2555 at pp. 23-25) The Monitor also identifies that the majority of lowest performing
LEAs by each indicator area are not selected due to the nature of selection with
formulas with multiple indicators.
But the Monitor simultaneously indicates the reason "better performing" LEAs may be
identified for monitoring over "poorer performing" LEAs is due to the nature of formulas
with multiple indicators. (0kt. 2555 at p. 2) COE's methodology takes into account that
an LEA may be poorly performing in one area, but performing adequately overall across

19See 4/29/19 Hearing Tr. at pp. 203-207. The Monitor discussed the importance of
including preschool outcome data in monitoring and the implications of performance in
preschool outcomes has with respect to an LEA's annual determination.
20At the April 29, 2019 Hearing, the Monitor highlighted student learning, suspension,
and placement in the least restrictive environment as important elements in measuring
LEA performance. (See 4/29/19 Hearing Tr. at p. 112.)

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all indicators. It is unclear if whether the Monitor believes CO E's methodology of
analyzing selection for Intensive Monitoring - Preschool across multiple indicators is
legally compliant, as the Monitors appears to both criticize and employ this approach in
his own proposals.
Assessing an LEAs performance over several areas to determine whether it should be
selected for Intensive Monitoring is a direct result of COE policy. Intensive Monitoring is
just that - intensive. COE's policymakers believe identifying LEAs for Intensive
Monitoring based on a single area 21 is not an appropriate way to select LEAs for this
intensive level of intervention. COE's policymakers also believe that an LEA's annual
determination of "Needs Intervention" should not be based on performance in one area.
Indeed, COE identified 285 LEAs for Targeted Monitoring - Performance based on for
preschool placements (Indicators 6a and 6b) and 161 in Targeted Monitoring -
Compliance based on Part C to Part B transition. As described previously, COE's
selection methodology ensures that LEAs struggling in one performance area are
selected for further monitoring. That COE's methodology may lead to not selecting an
LEA struggling in a single area for Intensive Monitoring does not render COE's
methodology legally deficient or flawed.
COE's selection methodology for Intensive Monitoring - Preschool addresses the
Court's concerns that small LEAs are adequately incorporated into its data analyses.
COE reduced the metrics for selecting LEAs for this review to those that both COE and
the Monitor agree are the most closely linked to FAPE in the LRE. COE's approach is
an appropriate reaction to a statewide decline in preschool placement by bolstering
additional analysis and focus on placement of California's preschool-aged children in
the LRE - a core belief of the policymakers and a priority for monitoring - and
establishes a repeatable, fair, and adequate process for identifying and selecting LEAs
in need of intensive support.

Mediation
The Court deemed the state out of compliance with federal law because the State did
not address an LEA's mediation practices as part of its data analysis. (0kt. 2520 at p.
14.) Specifically, the Court stated that it was "far from obvious that the state couldn't
take action against districts that refuse to use mediation as a blanket matter (or, for that
matter, seriously neglect this tool)." (Id.)

21 See 0kt. 2555 at p. 25. The Monitor describes an alternative approach to selecting
LEAs scoring "1" on both least restrictive environment indicators, or selecting LEAs
scoring "1" on either of the least restrictive environment indicators and a decile "2" on
the other. However, this approach would emphasize LRE indicators over other
indicators, and make it more likely that an LEA would be selected for Intensive
Monitoring based on its performance in only one area.

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In the Further Phase 2 Submission, COE proposed a data analysis methodology to
select LEAs for targeted technical assistance in the area of mediation. In his Review of
the Further Phase 2 Submission, the Monitor states that "CDE's proxy methodology is a
reasonable approach to identifying districts that may not be willing to mediate." (0kt.
2555 at p. 4.)

Nevertheless, the Monitor asserted that COE is noncompliant in this area because "the
districts selected through CDE's methodology are not selected for a monitoring
process." (Id. at pp. 4-5) The Monitor argues that "Technical assistance is not
monitoring, and the monitoring of a monitoring priority area is not optional. The state
offers no reason to believe that when the statute speaks of monitoring it means
technical assistance." (Id.)

To be clear, COE has never suggested that monitoring is optional. Further, COE has
never suggested that the monitoring under federal law refers to technical assistance
alone. Instead, COE recognizes the symbiotic relationship between monitoring and
technical assistance under the IDEA. Though not necessarily interchangeable,
monitoring and technical assistance are critical, complementary components of an
effective system of general supervision.

As explained previously, CDE's approach to universal monitoring includes the annual
collection and analysis of LEA data to identify concerns in various areas of performance
and compliance. By developing a methodology to select LEAs that may need to improve
the use of mediation, and by analyzing available, relevant data in the proposed manner,
COE will be routinely monitoring in the priority area of mediation. The analysis of the
data fulfills the State's obligation to measure performance in the use of mediation
required by 34 C.F.R. § 300.600(d)(2).

Additionally, 34 CFR § 300.600(a) requires "The State must- (1) Monitor the
implementation of this part; ... (3) Enforce this part, consistent with § 300.604, using
appropriate enforcement mechanisms, which must include, if applicable, the
enforcement mechanisms identified in §300.604(a)(1) (technical assistance) ...
[emphasis added]". (See 34 CFR § 300.600(a).)

In providing targeted technical assistance to LEAs identified in the mediation area, COE
satisfies its obligations under the IDEA, despite not identifying such LEAs for some
other monitoring activity. Analyzing data to gauge LEAs' use of mediation will be a new
monitoring process added to the annual data analyses that COE conducts for all LEAs.
As such, COE, in its policymaking capacity, not only considered the appropriate
approach to monitoring (i.e., analyzing pertinent data), but also the appropriate
mechanism for enforcement (i.e., targeted technical assistance), as required by 34 CFR
§ 300.600. CDE's proposal does not intend to provide targeted technical assistance in
lieu of monitoring; rather, CDE's proposal describes the different components of its


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monitoring proposal, which includes technical assistance as an enforcement
mechanism.

CDE's approach is consistent with OSEP's system for providing Differentiated
Monitoring and Support (OMS) for states. OSEP "began providing [OMS] to states as
part of its Results Driven Accountability (RDA) system." 22 OSEP designed OMS to
mitigate potential risks and to help OSEP use its resources wisely by determining the
levels of engagement states need in each focus area. OSEP uses OMS to fulfill its
responsibility to monitor grantees. OSEP's "Targeted" level of engagement for states
includes offering "technical assistance and/or monitoring focused on a discrete issue".
CDE's proposal mirrors OSEP's system for DMS. 23

Furthermore, identifying LEAs for existing targeted or intensive monitoring processes
based on available mediation data is not appropriate given the scope and types of
activities LEAs are required to complete as participants in those processes. 24 Mediation
is voluntary and identifying LEAs for more stringent monitoring when there is no
evidence of wrongdoing would be punitive rather than remedial. CDE's monitoring of
mediation is focused on encouraging the use of mediation in the hopes of increasing
informal resolution of disputes, which helps preserve the relationship between LEAs and
families. Targeted technical assistance is an integral part of an effective system of
general supervision and serves multiple functions to assist LEAs in improving results. 25
In CDE's view, naming or coining another, separate "monitoring process" to provide
targeted technical assistance in this area is t:mnecessary.

The Monitor points out that under "CDE's system of making annual determinations of
districts designates those not selected for any monitoring process as meeting the
requirements of the IDEA, districts selected for targeted technical assistance for
mediation would presumably be eligible for a "meets requirements" determination." (See
0kt. 2555 at p. 5 n.8). Setting aside the inaccuracies with respect to CDE's proposal for
monitoring in the area of monitoring, as a matter of policy, it is CDE's view that an LEA's


22
   See OSEP's OMS Reports, available at
https://www2.ed.gov/fund/data/report/idea/dmsrpts/index.html
23
  See OSEP's OMS System Overview, available at
https://osep.grads360.org/#communities/pdc/documents/14982.
24   Targeted and Intensive Monitoring activities will be further discussed in Phase 3.
25See the National Center for Special Education Accountability Monitoring, Developing
and Implementing and Effective System of General Supervision: Part B, available at
https://www.hdc.lsuhsc.edu/docs/TIERS/resources/Effective%20General%20Supervisio
n%20Paper Part%20B.pdf


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 annual determination should not be affected solely by CDE's decision to provide an LEA
 targeted technical assistance in this area.

  As discussed in the Further Phase 2 Submission, the available data does not
  necessarily show an LEA's unwillingness to participate in mediation and, further, may
  not be an accurate reflection of the LEA's use of mediation or, more generally, success
  in informally resolving disputes as the IDEA encourages. 26 The proposed proxy
  methodology for selection in the area of mediation is necessarily built on assumptions
  due to the absence of more germane, descriptive data. For example, although LEAs are
  selected with the proposed methodology (in some cases) where the data shows a
  mediation session was not held, there are several possible explanations for why that
  session was not held. Those explanations include the possibility that the student/parent
· was the party unwilling to mediate, rather than the LEA. In that sense, there is
  significant variability in the conclusions that can be drawn from the data alone. Thus, in
  CDE's view, it is not appropriate for an LEA's annual determinations to be adversely
  impacted solely based on CDE's decision to provide an LEA targeted technical
  assistance in the area of mediation.

Another factor that COE considered when weighing the impact on annual
determinations was that, in many cases, the number of filings (or opportunities to
mediate) for each LEA in a given year is small. For example, referring to the data set
forth in the Further Phase 2 Submission, of the forty-two LEAs that would have been
selected for targeted technical assistance in 2018-2019 using the proposed
methodology, only two LEAs were not selected for other monitoring activities and, thus,
would be eligible to receive a "meets requirements" determination. One of those two
LEAs had two filings (i.e., opportunities to mediate) in 2018-2019, and the other LEA
had one filing. In a scenario where targeted technical assistance in mediation directly
impacts an LEA's annual determination, LEAs could theoretically be negatively
impacted by a single case where mediation was not pursued for undetermined reasons.
Thus, it is inappropriate to attribute to an LEA a negative reason for not mediating, when
the reasons could include the matter resolving itself or a student/parent cancelling a
mediation session. Again, the data analyzed by COE for selection purposes does not
indicate why a given mediation session was not held. As such, the data tells an
incomplete story about the progression of a dispute and the potential neglect of
mediation by the LEA. It is CDE's view, in its policymaking capacity, that given the
limitations of the data and the fact that participation in mediation is ultimately voluntary,


 26For example, an LEA may have four (4) due process filing with mediation and
 participated in mediation in two (2) of the four (4) cases. That data would factor into
 CDE's selection methodology for mediation. However, that same LEA may have
 successfully resolved ten (10) other disputes or filings informally (i.e. outside of the
 resolution session or mediation processes), which is not captured in the data collected
 and thus not included or weighed in CDE's analysis and selection methodology.

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directly tying CDE's decision to provide targeted technical assistance in the area of
mediation to high-stakes annual determinations for LEAs is inappropriate.

Given the limitations of available mediation data, it is also the State's view that
attempting to ''connect mediation data with data concerning complaints filed against
districts, or to data about student performance, placements, or suspension" would be a
futile effort and ultimately an unwise use of limited state resources. (See 0kt. 2555 at p.
4.) Further, the basis for suggesting that an interactive or causal relationship exists
between an LEA's use of mediation, specifically, and other LEA performance measures
(such as suspension rates or assessment outcomes) is unclear. It does not appear that
there is a significant, meaningful relationship between an LEA's willingness to
participate in mediati9n and an LEA's suspension rate or assessment results that can
be demonstrated or probed with existing data. If data existed that could reliably identify
apparent patterns or trends indicating that an LEA routinely neglected monitoring as a
dispute resolution tool, perhaps that would generally serve to paint a more complete
picture of the LEA's success implementing all provisions of the IDEA. However, there is
no data that would reliably flag an LEA's indisputable failure or neglect of mediation. As
such, attempting to connect unreliable data to other performance measures would result
in the State drawing variable, likely erroneous conclusions. The State is unable to
devote limited staff time and resources to conducting extensive exploratory data
analyses attempting to prove or disprove correlation when it is far from clear that the
results would be of legitimate purpose and value in driving decisions about monitoring.

Instead, existing data serves as a means or prompt for further engagement between
COE and an LEA on the issue of mediation. Should COE become aware of unfavorable
patterns or trends, such as an LEA refusing to mediate as a blanket matter, through the
provision of targeted technical assistance and related engagement with LEAs on
mediation practices, COE may consider further enforcement measures as necessary for
individual LEAs, including impact on annual determinations.

The 7/5/19 Order noted that ''To be fair, the state's failure to assess districts for their
use of mediation is less significant than some of the other problems discussed in this
section. There is even an argument that the failure to analyze mediation data does not,
on its own, significantly interfere with the state's ability to fulfill its monitoring obligations
under the IDEA. Federal regulations require states to prioritize mediation in their
monitoring activities. See 34 C.F.R. § 300.600(d)(2)." (0kt. 2520 at pp. 14-15.) CDE's
proposal for data analyses and decision to provide LEAs targeted technical assistance
in the priority area of mediation, given the discrete focus and attention on mediation
practices, meets the basic threshold of prioritizing mediation in monitoring for the
purpose of compliance with federal regulations.
COVID-19 Impact
COE is currently reacting and responding the effects of COVID-19 in California. On
March 4, 2020, California Governor Gavin Newsom declared a State of Emergency to

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prepare for the spread of infection. During March 2020, LEAs began to close physical
school sites in an attempt to reduce the spread of the coronavirus. In response, the
 Governor issued an Executive Order on March 13, 2020, 27 ensuring that funding for
.schools would continue and requiring schools to:

            •   Continue to deliver high quality educational opportunities through other
                options, distance learning, or independent study;

            •   Ensure that students have access to meals; and,

            •   Continue to pay employees.
Following that Executive Order, the Governor issued an additional Executive Order on
March 18, 2020 suspending standardized testing for the 2019-2020 school year. 28 In
response, on March 26, 2020, the State requested a waiver from the statewide
assessment, accountability and reporting requirements of the Elementary and
Secondary Education Act (ESEA) Section 8401 (b) for the 2019-2020 school year from
the U.S. Department of Education, which it granted the following day. 29
On March 19, 2020, the Governor issued an Executive Order requiring all citizens
statewide stay at their homes or places of residence, except as needed with respect to
continuity of essential industries. 30 On March 31, 2020, the State Superintendent of
Public Instruction stated that physical school sites were unlikely to reopen for this school
year. 31
During this period, the U.S. Department of Education also issued guidance for SWD 32
and COE also provided FAQs and webinars to address the programmatic questions



27See https://www.gov.ca.gov/wp-content/uploads/2020/03/3.13.20-EO-N-26-20-
Schools.pdf
28See https://www.gov.ca.gov/wp-content/uploads/2020/03/3.17.18-N-30-20-
Schools.pdf
29   See https://www.cde.ca.gov/re/es/documents/covid19waiverresponse.pdf.
30See https://www.gov.ca.gov/wp-content/uploads/2020/03/3.19.20-attested-EO-N-33-
20-COVID-19-HEALTH-ORDER.pdf

31See COE Communications release #20-16, available at
https://www.cde.ca.gov/nr/ne/yr20/yr20rel 16.asp.
32See U.S. Department of Education, Office of Special Programs, available at
https://www.ed.gov/coronavirus.


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being posed by teacher and families of SWD. 33 COE also issued two "CALPADS
flashes" stating that LEAs should continue to update enrollment and Individual
Education Programs as changes are made. 34 However, COE also acknowledged that
data collection for the 2019-2020 school would be affected by school site closures in
response to the COVID-19 Executive Orders.
COE currently anticipates that the following data points will be affected by COVID-19
school site closures:

            •   Assessment data (no assessment data for 2019-2020 school year)

            •   Graduation data (data uncertain at this time)

            •   Dropout data (data uncertain at this time)

            •   Suspension Data (truncated data for 2019-2020)

            •   Least Restrictive Environment (data already collected but could be
                impacted now based on student needs)

            •   Preschool Assessment Data (Truncated data for 2019-2020)

            •   Timely IEPs and Assessments (Truncated or impacted by LEAs unable to
                hold IEPs meetings and Assessments)

            •   Post-School Transitions Plans (Truncated or impacted by LEAs unable to
                hold IEP meetings prior to the end of the school Year)

            •   Post-School Outcomes (Impacted if LEAs are unable to locate and survey
                individuals)

            •   Restraint and Seclusion (Truncated for 2019-2020)

            •   Chronic Absenteeism (Will not be calculated for 2019-2020)

            •   Dashboard (Will not be calculated for 2019-2020)
While these data challenges do not affect the design of CDE's monitoring selection,
they will likely impact the State's implementation of its revised selection methodology for
the 2020-2021 monitoring year as set forth throughout this document and in its Further

33   See https://www.cde.ca.gov/ls/he/hn/coronavirus.asp.
34 See CALPADS Flash 173, available at
https://www.cde.ca.gov/ds/sp/c1/documents/calpadsupdflash173.pdf and CALPADS
Flash 175, available at
https://www.cde.ca.gov/ds/sp/cl/documents/calpadsupdflash175.pdf.

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Phase 2 Submission. COE currently anticipates that the data used for selection in many
of the monitoring activities will be either unavailable or truncated. Additionally, given the
need to monitor LEAs as they are anticipated to resume normal operations in the next
school year, COE may alter is monitoring processes to support LEAs as they identify
and provide any missed services or compensatory education as a result of COVID-19
school site closures. COE does not have enough information at this time to determine
whether changes may be required to account for this need, and, if so, what changes.
In light of the current expectation that LEAs will resume normal operations in the next
school year, COE anticipates that the aforementioned data issues will be a one-year
anomaly, and anticipates returning to its selection methodology and monitoring activities
in the 2021-2022 monitoring year as previously outlined in these Court proceedings.

Attachments
   •   Attachment 11: OSEP 2007 PowerPoint - General Supervision: Developing an
       Effective System (Implications for States)
   •   Attachment 12: OSEP 2007 PowerPoint- General Supervision




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10   Board of Education

11                           IN THE UNITED STATES DISTRICT COURT
12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

13

14

15
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16
                                          Plaintiffs,   ATTACHMENT 11
17
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18

19   THURMOND, et al.,

20                                      Defendants.

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28


                                                                   ATTACHMENT 11 (3:96-cv-04179-VC)
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                         General Supervision:
               Developing an Effective System
                                                     Implications for States




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Components of
General                                           State                   Policies,
                                                                        Procedures,
                                              Performance
Supervision                                       Plan                  and Effective
                                                                       Implementatio
                                                                              n


                  Integrated                                             Data on
                                             Fiscal
                  Monitoring                                            Processes
                                           Management
                   Activities                                          and Results




              Improvement,                                             Targeted
                Correction,                  Effective                Technical
               Incentives &                  Dispute                 Assistance &
                Sanctions                   Resolution               Professional
                                                                     Development

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Integrated System of General
Supervision
        OSEP first presented concept at
         2004 National Accountability
         Conference; Revisited at NAC 2006
        OSEP/RRC/NECTAC Planning
         Meeting November 2006
        NCSEAM draft “Developing and
         Implementing an Effective System
         of General Supervision”, Fall 2006
        Kansas City meeting, December
         2006
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The components
  Each of the Big 8 is required by
   IDEA, GEPA, etc.
  Most states have established
   independent components
  States typically develop their
   own models for meeting general
   supervision requirements

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Why an “Integrated
System”?
     General Supervision system must be
      accountable for:
        improving educational results and
         functional outcomes
        ensuring that public agencies meet
         program requirements



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Why an
“Integrated System”?
     To be effective, components must
        connect
        interact

        articulate

        inform each other




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How can a state use the
General Supervision paper?

  What are the “Big 8”?
  What is the “evidence” to
   demonstrate a component is part
   of General Supervision system?



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Integration of
Big 8 Components
 1.     State Performance Plan (SPP)
 2.     Policies, Procedures, and Effective
        Implementation
 3.     Data on Processes and Results
 4.     Targeted Technical Assistance and
        Professional Development
 5.     Effective Dispute Resolution
 6.     Integrated Monitoring Activities
 7.     Improvement, Correction, Incentives and
        Sanctions
 8.     Fiscal Management
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This Session
  State Performance Plan (SPP)
  Policies, Procedures and Effective
   Implementation
  Data on Processes and Results
  Integrated Monitoring Activities




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Discussion
  Successes? Remaining challenges?
  Questions, issues?
  Other evidences?
  Further suggestions?




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State Performance Plan
  Blueprint for systems change
  All other components must be
   integrated with SPP




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Policies, Procedures and
Effective Implementation
     Aligned with IDEA
     Include descriptions of
          activities to identify noncompliance
          methods for requiring correction of
           noncompliance
          range of sanctions to enforce correction
     establish and maintain specifications for
      highly qualified personnel

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Policies, Procedures and
Effective Implementation
     Local educational agency (LEA) policies
      and procedures aligned with those of
      state
     LEA policies and procedures designed and
      implement to improve results
     LEA policies and procedures personnel
      adequately prepared
     State and LEAs have written policies and
      procedures in place, including assurances
     Required memoranda of understanding
      (MOUs) in place and current
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Discussion

  Successes? Remaining challenges?
  Questions, issues?
  Other evidences?
  Further suggestions?




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Data on
Processes and Results
     Collection and verification
        618
        Dispute resolution
        Previous monitoring reports
        Other

     Examination and analyses
        Areas of state concern
        Clusters of related indicators

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Data on
Processes and Results
     Reporting
        Annual Performance Report (APR)
         (state)
        LEA performance against state targets

  Status determination
  Improvement
          Data are used to plan and revise
           activities
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Discussion

  Successes? Remaining challenges?
  Questions, issues?
  Other evidences?
  Further suggestions?




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Integrated Monitoring
Activities
      Stakeholders involved
      Focus on specific hypotheses for areas
      Teams include family members
      Investigation related to compliance and
       program improvement
      Multiple methods and data sources to
       monitor every program, every year

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Integrated Monitoring
Activities
  Activities include continuous
   examination of performance for
   compliance and results
  Written reports specify evidence of
   correction and improvement
  Internal and external TA and
   professional development support
   improvement and correction
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Discussion

  Successes? Remaining challenges?
  Questions, issues?
  Other evidences?
  Further suggestions?




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Putting the Puzzle Together
     Use the General Supervision paper
      to:
        Self-evaluate your state’s Big 8
         components
        Improve connections among
         components to strengthen your General
         Supervision system.


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Benefits
  More efficient and effective state
   system
  Improved outcomes for children
   with disabilities and their
   families!



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Web Resources
   National Center for Special Education
    Accountability Monitoring
    http://www.monitoringcenter.lsuhsc.edu/
   Regional Resource and Federal Center
    Network http://www.rrfcnetwork.org
           • SPP/APR guidance materials
   OSEP Technical Assistance Network

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                  General Supervision




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                          Supervision
                      Accountability for Implementation &
                              Improved Results




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                       The BIG 8 of General Supervision
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                        (and Continuous Improvement)
                      1. What are the minimum components for
                         General Supervision ?
                      2. How do the components form a state
                         system ?
                      3. What are the annual processes operating
                         within the system ?




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                                             Difference between
                                                   Concepts & a
                                                     Model
                                                  Each state develops
                                                    Its Own Model
                                                      of General
                                                     Supervision
                                                   based on what’s
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                                                Building the Legacy: IDEA 2004                  4
                       Components
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                        of General                         State                           Policies,
                                                                                          Procedures,
                       Supervision                    Performance
                                                                                         and Effective
                                                               Plan
                                                                                        Implementation


   Ask
Yourself
  How                      Integrated                                                     Data on
                                                       Fiscal
                           Monitoring                                                    Processes
  Each                                               Management
                            Activities                                                  and Results
  Piece
Operate
  s and
Fits Into
   the                  Improvement,                                                  Targeted
                                                       Effective                     Technical
 Whole                    Correction,                  Dispute
                         Incentives &                                               Assistance &
                                                      Resolution                    Professional
                          Sanctions
                                                                                    Development
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                                Accountability’s Big View
                                                                      Policies,
                                                   State
                             State Plan for                         Procedures &
                                               Performance
                                 NCLB                                 Effective
                                                   Plan
                                                                   Implementation


How Do                        Integrated                              Data on
                                                Fiscal                                Data on NCLB
  the                         Monitoring
                               Activities     Management           Processes and         Student
                                                                      Results         Performance &
 Big 8                                                                                     AYP

Fit Into
                            Improvement,
a State                       Correction,
                                               Effective
                                               Dispute
                                                                   Targeted
                                                                  Technical
                                                                                     Reading First
                                                                                      Technical
                             Incentives &
System                        Sanctions
                                              Resolution         Assistance &
                                                                 Professional
                                                                                     Assistance &
                                                                                     Professional
    ?                                                            Development         Development

                          Improvement,
                          Correction for
                              NCLB
                                               What accountability requirements
                                               for other programs have?
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                        State Performance Plan (SPP)
                            • 34 CFR §§76.720 and 80.40 Annual
                              performance reports (APRs)
                            • 34 CFR §300.157 Performance goals and
                              indicators
                            • 34 CFR §300.601 SPP
                            • 34 CFR §300.600 (c) and (d) Monitoring
     State                    and enforcement
 Performance
     Plan                   • 34 CFR §300.602 Targets and reporting



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                                 State Performance Plan
                              • Stakeholders should be actively involved
                                in all aspects of the SPP.
                              • The development and implementation of
                                the SPP leads to improved results.
                              • Reporting is critical to ensuring
                                accountability to the public.
     State                    • The SPP is the blueprint for systems
 Performance
     Plan
                                change.



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                                       Requirements:
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                             Policies, Procedures & Effective
                                      Implementation
                              • 20 U.S.C. §1232d(b)(1) Program administered
                                in accordance with rules
                              • 20 U.S.C. §1232e(b)(1) local educational
                                agency (LEA) administers program in
                                accordance with rules
                              • 34 CFR §76.700 Compliance with statutes
                              • 34 CFR §300.100 State policies and
        Policies,               procedures (state plan)
       Procedures
       & Effective            • 34 CFR §300.154 Methods of ensuring services
     Implementation
                              • 34 CFR §§300.200-300.201 LEA policies and
                                procedures
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                                 Implementation
                               • Aligned with IDEA
                               • Implemented by local programs
                               • Methods to detect noncompliance and
                                 ensure correction of noncompliance
                               • Program improvement through
                                 improvement planning and incentives
         Policies,
        Procedures
                               • Current interagency agreements and
        & Effective              memoranda of understanding (MOU)
      Implementation
                                 when required to ensure IDEA
                                 implementation
U.S. Department of             • Mechanisms to determine effectiveness of
Education, Office of
 Special Education
     Programs
                                 agreements and MOU
                                                     Building the Legacy: IDEA 2004       10
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                           Effective Dispute Resolution
                           • 34 CFR §300.150 Procedural safeguards
                           • 34 CFR §§300.151-300.153 Complaint
                             procedures
                           • 34 CFR §300.500 Procedural safeguards
                           • 34 CFR §300.504 Procedural safeguards
                             notice
       Effective
       Dispute
      Resolution




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     Programs
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                          Effective Dispute Resolutions
                               • Are timely
                               • Track issues
                               • Inform onsite and offsite monitoring
                                 activities
                               • Periodically evaluate effectiveness of
                                 resolutions
       Effective               • Determine that parents and families and
       Dispute
      Resolution                 students understand their rights,
                                 especially in cases where there are few
                                 or no complaints, hearings, or other
                                 resolutions
U.S. Department of
Education Office of
Special Education
     Programs
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                          Data on Processes & Results
                            • 20 U.S.C. §1232d(b)(4) Evaluate
                              effectiveness
                            • 20 U.S.C. §1232e(b) LEAs report to the
                              state educational agency (SEA), board,
                              Secretary
                            • 34 CFR §300.601(b) Data collection
        Data on
       Processes            • 34 CFR §300.602 Targets and reporting
       & Results
                            • 34 CFR §300.640 Annual report of children
                              served

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     Programs
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                          Data on Processes & Results
                           •    Collection and verification
                                 – 618
                                 – Dispute resolution
                                 – Previous monitoring reports
                                 – other
                           •    Examination and analyses
                                 – Areas of state concern
        Data on                  – Clusters of related indicators
       Processes
                           •    Reporting
       & Results
                                 – APR (state)
                                 – LEA Performance compare to state targets
                           •    Status determination
                           •    Improvement
U.S. Department of
Education Office of
                                 – Data are used to plan and revise activities
Special Education
     Programs
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                        Integrated Monitoring Activities
                        • 20 U.S.C. §1232d(b)(3)(A) Proper methods
                          of monitoring
                        • 34 CFR §300.120 Monitoring least restrictive
                          environment (LRE)
                        • 34 CFR §300.149 SEA responsibility for
                          general supervision
      Integrated        • 34 CFR §300.600 State monitoring
      Monitoring
       Activities




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                        Integrated Monitoring Activities
                         •    Stakeholders involved
                         •    Focus on specific hypotheses for area
                         •    Teams include family members
                         •    Investigation related to noncompliance and
                              program improvement
                         •    Multiple methods and data sources to monitor
                              every program, every year
                         •    Activities include continuous examination of
      Integrated
                              performance for compliance and results
      Monitoring
       Activities        •    Written reports specify evidence of correction
                              and of improvement
                         •    Internal and external technical assistance and
                              professional development support improvement
U.S. Department of            and correction
Education Office of
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     Programs
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                            Targeted TA and Professional
                                    Development
                         • 20 U.S.C. §1232d(b)(3)(B), (C), (D) Provide
                           TA, promising practices and disseminate
                           information
                         • 20 U.S.C. §1232e(b)(8) LEA has effective
                           dissemination to teachers and administrators
                         • 34 CFR §300.119 TA on LRE
      Targeted
       T/A &             • 34 CFR §300.156 Personnel qualifications
      Prof Dev



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     Programs
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                      Targeted Technical Assistance &
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                         Professional Development
                        • Directly connected to the SPP and
                          improvement activities
                        • Provided to correct noncompliance and
                          improve results
                        • Principles of adult learning
                        • Measure effectiveness of implementation
      Targeted          • Incorporate various agencies in development
       T/A &              and dissemination
      Prof Dev
                        • Distribute promising practices and evidence
                          based practices to local programs
U.S. Department of
Education Office of
Special Education
     Programs
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                                   Requirements:
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                              Improvement, Correction,
                               Incentives, & Sanctions
                             20 U.S.C. §1232d(b)(3(A) and (E)
                                    Proper methods—correction and
                                    enforcement
                                   34 CFR §80.12 Special conditions
                                   34 CFR §80.43 Enforcement
                                   34 CFR §300.222 LEA compliance
      Improvement
      & Correction,                34 CFR §300.600 State monitoring
        Incentives                  and enforcement
       & Sanctions
                                   34 CFR §§300.603-300.604
                                    Determinations and enforcement
                                    actions
U.S. Department of
Education Office of
Special Education
                                   34 CFR §300.608 Enforcement
     Programs
                                                    Building the Legacy: IDEA 2004       19
                               Improvement, Correction,
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                                Incentives & Sanctions
                             • Explicit state authority to enforce
                               regulations, policies, and procedures
                             • TA to ensure correction of noncompliance
                             • Improvement planning to meet targets
                             • Corrective action planning and follow-up
                               tracking of correction and improvement
      Improvement
      & Correction,          • Range of formalized strategies and/or
        Incentives
       & Sanctions
                               sanctions for enforcement with written
                               timelines
                             • Determines the status of local programs
U.S. Department of             annually
Education Office of
Special Education
     Programs
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                                          Requirements:
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                                       Fiscal Management
                        • 34 CFR §§300.704 and 300.705 Distribution of
                          funds
                        • 34 CFR §300.209 Treatment of charter schools
                        • 34 CFR §300.133 Private schools proportionate
                          share
                        • 34 CFR §§300.163 and 300.203-300.205
                          Maintenance of effort

   Fiscal
                        • 34 CFR §§300.162 and 300.202 Excess
 Management               cost/supplement not supplant
                        • 34 CFR §300.226 Early intervening services 15%
                        • OMB Circular A-133 – Single Audits
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Education Office of
Special Education
     Programs
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                                         Fiscal Management
                      • States distribute funds in accordance with federal
                        requirements.
                      • Funds are used in accordance with federal and
                        state requirements.
                      • States provide oversight on the use of funds.
                      • Funds are aligned to problem areas in the
                        SPP/APR
   Fiscal
 Management




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                                  Describing a ‘System’
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                                  of General Supervision

                          Problems in Description (beginning list)
                           Equating general supervision as only
                             onsite monitoring
                           Viewing administration as a
                             collection of separate and isolated
                             functions
                           Defining accountability as an event
                             rather than a ‘state’ and process
                           Others?

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                                                                                   Policies,

 What is
                                    State                                      Procedures, and
                                Performance                                       Effective

‘System ?’                          Plan                                       Implementation




                                                                                            Data on
    Integrated                                                                             Processes
    Monitoring                                 Fiscal                                         and
     Activities                               Manage-                                       Results
                                               ment




  Improvement,                             Effective
    Correction,                            Dispute                          Targeted T/A &
   Incentives &                           Resolution                         Professional
     Sanctions                                                               Development

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                                                             It’s about
                                                           Better Results
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Office of Special Education               Building the Legacy: IDEA 2004                  25
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                 General                                        State                   Policies,
                                                            Performance                Procedures,
                Supervision
                       Big 8
                                                                Plan                  and Effective
                                                                                     Implementation




                             Integrated                                                 Data on
                                                           Fiscal
                             Monitoring                                                Processes
                                                         Management
                              Activities                                              and Results




                         Improvement,                                                Targeted
                                                         Effective
                           Correction,                                              Technical
                                                         Dispute
                          Incentives &                                             Assistance &
                                                        Resolution
                           Sanctions                                               Professional
                                                                                   Development


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             For More Information
     •    http://sites.ed.gov/idea
     •    http://www.ed.gov
     •    http://www.monitoringcenter.lsuhsc.edu
     •    http://www.rrfcnetwork.org
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                               CERTIFICATE OF SERVICE
Case Name:      Emma C., et al. v. Thurmond,              No.    3:96-cv-04179-VC
                et al.

I hereby certify that on April 21, 2020, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
STATE DEFENDANTS’ RESPONSE TO MINITOR’S REVIEW OF FURTHER PHASE 2
SUBMISSION
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on April 21, 2020, at Sacramento, California.


               J. Hutcherson                                     /s/ J. Hutcherson
                  Declarant                                           Signature

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